Case 1:04-cr-00118-MR-DLH   Document 57   Filed 05/11/06   Page 1 of 7
Case 1:04-cr-00118-MR-DLH   Document 57   Filed 05/11/06   Page 2 of 7
Case 1:04-cr-00118-MR-DLH   Document 57   Filed 05/11/06   Page 3 of 7
Case 1:04-cr-00118-MR-DLH   Document 57   Filed 05/11/06   Page 4 of 7
Case 1:04-cr-00118-MR-DLH   Document 57   Filed 05/11/06   Page 5 of 7
Case 1:04-cr-00118-MR-DLH   Document 57   Filed 05/11/06   Page 6 of 7
Case 1:04-cr-00118-MR-DLH   Document 57   Filed 05/11/06   Page 7 of 7
